 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 1 of 17 PageID #: 35




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 THOMAS HALL,
                                                                 ANSWER
                               Plaintiff,
                                                                 Civil Action No. 2:20-cv-
                      v.                                         2638 (JS-ST)

 HOFSTRA UNIVERSITY,

                               Defendant.


       Defendant Hofstra University (“Defendant or “the University”), through its

undersigned attorneys, answers Plaintiff Thomas Hall’s Complaint (ECF Doc. No. 1) as

follows:

                                 GENERAL OBJECTION

       Federal Rule of Civil Procedure 8(a)(2) requires a “short and plain statement of

the claim.” The 154 paragraph Complaint is needlessly detailed, plainly argumentative,

and the allegations are often phrased on a way to intentionally frustrate Defendant from

fairly answering. Defendant notes the challenges of responding to such allegations that

do not comply with Rule 8, and, therefore, states that any allegation or partial allegation

not expressly admitted is DENIED. Defendant DENIES the truth of all allegations based

on inadmissible sources and/or Plaintiff’s or others’ speculation or non-expert, non-

admissible opinion.

                           RESPONSES TO ALLEGATIONS


       1.     ADMITS the allegations in paragraph 1 based on the University’s

investigation and adjudication of a complaint filed against Plaintiff under the Student




                                                                                    3597118.3
 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 2 of 17 PageID #: 36




Policy Prohibiting Discriminatory Harassment, Relationship Violence and Sexual

Misconduct (the “Policy”) by another University student.

          2.   With respect to paragraph 2, DENIES all the allegations, except ADMITS

that a University student filed a complaint against Plaintiff under the Policy, and states

that no further answer is necessary, as the complaint filed against Plaintiff speaks for

itself.

          3.   With respect to paragraph 3, DENIES all the allegations, except ADMITS

that Plaintiff was issued a no-contact order and that the Administrative Conduct Board

issued a decision, and states that no further answer is necessary, as the no-contact

order and decision speak for themselves.

          4.   With respect to paragraph 4, DENIES all the allegations, except ADMITS

that a University student filed a complaint against Plaintiff under the Policy, and states

that no further answer is necessary, as the complaint filed against Plaintiff speaks for

itself.

          5.   With respect to paragraph 5, DENIES all the allegations, except ADMITS

that the University issued a no-contact order to the University student who had brought

the complaint against Plaintiff, and that the Administrative Conduct Board issued a

decision in which it found Plaintiff responsible for Dating Violence, and that Plaintiff was

issued a Notice of Sanctions, and states that no further answer is necessary, as the no-

contact order, decision and Notice of Sanctions speak for themselves.

          6.   With respect to paragraph 6, ADMITS that Plaintiff appealed pursuant to

the Policy and that decisions on Plaintiff’s appeals were issued by the Appellate Panel




                                             2                                       3597118.3
 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 3 of 17 PageID #: 37




and the Vice President of Student Affairs, and states that no further answer is

necessary, as the decisions speak for themselves.

        7.    With respect to paragraph 7, ADMITS that Plaintiff filed a petition pursuant

to Article 78 of the New York State Civil Practice Laws and Rules, and states that no

further answer is necessary, as Plaintiff’s petition and the decision resolving Plaintiff’s

petition speak for themselves.

        8.    DENIES the allegations in paragraph 8.

        9.    With respect to paragraph 9, DENIES KNOWLEDGE OR INFORMATION

sufficient to form a belief as to the allegations, except ADMITS that Plaintiff was a

student at the University and that the University has a campus in Hempstead, New

York.

        10.   ADMITS the allegations in paragraph 10.

        11.   Paragraph 11 contains conclusions of law, which are neither admitted nor

denied, but are submitted to the Court.

        12.   Paragraph 12 contains a conclusion of law, which is neither admitted nor

denied, but is submitted to the Court; but to the extent a response is required, ADMITS

that the Court has personal jurisdiction over the University.

        13.   Paragraph 13 contains a conclusion of law, which is neither admitted nor

denied, but is submitted to the Court; but to the extent a response is required, ADMITS

that venue is proper in this District.

        14.   With respect to paragraph 14, ADMITS that Plaintiff was enrolled as a

student at the University in January of 2014.




                                              3                                       3597118.3
 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 4 of 17 PageID #: 38




       15.     With respect to paragraph 15, ADMITS that Plaintiff was provided with the

Policy and the University’s Guide to Pride, as well as other related policies, and

DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as to the truth of

the allegations concerning Plaintiff’s reliance on said policies.

       16.     With respect to paragraph 15, DENIES KNOWLEDGE OR

INFORMATION sufficient to form a belief as to the truth of the allegations, except

ADMITS based on the University’s investigation and adjudication of a complaint filed

against Plaintiff under the Policy by another University student that Plaintiff and the

complainant had dated for a period of time prior to the incident that was the subject of

the complaint.

       17.     ADMITS the allegations in paragraph 17 based on the University’s

investigation and adjudication of a complaint filed against Plaintiff under the Policy by

another University student.

       18.     With respect to paragraph 18, DENIES KNOWLEDGE AND

INFORMATION sufficient to form a belief as to the truth of the allegations, except

ADMIT that, based on the University’s investigation and adjudication of a complaint filed

against Plaintiff under the Policy by another University student, Plaintiff and the other

student verbally argued on the night of the incident.

       19.     With respect to paragraph 19, ADMITS that a University student filed a

complaint against Plaintiff under the Policy, and states that no further answer is

necessary, as the complaint filed against Plaintiff speaks for itself.

       20.     With respect to paragraph 20, states that the complaint filed against

Plaintiff speaks for itself.



                                              4                                      3597118.3
 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 5 of 17 PageID #: 39




          21.   With respect to paragraph 21, states that the complaint filed against

Plaintiff speaks for itself.

          22.   ADMITS the allegations in paragraph 22.

          23.   With respect to paragraph 23, DENIES all the allegations, except ADMITS

that Plaintiff was issued a no-contact order, and states that no further answer is

necessary, as the no-contact order speak for itself.

          24.   With respect to paragraph 24, states that the Policy speaks for itself.

          25.   With respect to paragraph 25, states that the no-contact order speaks for

itself.

          26.   With respect to paragraph 26, DENIES the allegations, except ADMITS

that a ban flyer was issued, and states that no further answer is necessary as the flyer

speaks for itself.

          27.   With respect to paragraph 27, DENIES the allegations, except ADMITS

that both students were issued no-contact orders, and states that no further answer is

necessary as the no-contact orders speak for themselves.

          28.   ADMITS the allegations in paragraph 28.

          29.   With respect to paragraph 29, DENIES the allegations, and states that the

case file speaks for itself.

          30.   With respect to paragraph 30, states that the case file speaks for itself.

          31.   With respect to paragraph 31, states that the case file speaks for itself.

          32.   With respect to paragraph 32, states that the case file speaks for itself.

          33.   With respect to paragraph 33, states that the case file speaks for itself.

          34.   With respect to paragraph 34, states that the case file speaks for itself.



                                               5                                      3597118.3
 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 6 of 17 PageID #: 40




        35.   With respect to paragraph 35, DENIES the allegations, except ADMITS

that the parties did not reach an informal resolution.

        36.   DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 36.

        37.   DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 37.

        38.   DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 38.

        39.   DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 39.

        40.   DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 40.

        41.   With respect to paragraph 41, DENIES all allegations, except ADMITS

that the other student submitted a statement to the University on or about February 2,

2017, and states that no further answer is necessary as the statement speaks for itself.

        42.   With respect to paragraph 42, ADMITS that a Charge Form was sent to

Plaintiff in which the University charged Plaintiff with Dating Violence, and that a hearing

was scheduled on April 12, 2017, and states that no further answer is necessary as the

Charge Form speaks for itself.

        43.   With respect to paragraph 43, states that the Student Bill of Rights speaks

for itself.

        44.   DENIES the allegations in paragraph 44.




                                             6                                      3597118.3
 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 7 of 17 PageID #: 41




       45.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 45.

       46.    With respect to paragraph 46, DENIES the allegations, except ADMITS

that Plaintiff and his advisor were permitted to review the Case File prior to the hearing.

       47.    With respect to paragraph 47, DENIES the allegations, except ADMITS

that Plaintiff and his advisor were permitted to review the Case File prior to the hearing

pursuant to the Policy and ADMITS that Plaintiff was permitted to take notes regarding

the Case File.

       48.    With respect to paragraph 48, DENIES the allegations, except ADMITS

that Plaintiff and his advisor were permitted to review the Case File prior to the hearing

pursuant to the Policy, and states that no further answer is necessary as the Policy

speaks for itself.

       49.    DENIES the allegations in paragraph 49.

       50.    With respect to paragraph 50, DENIES that Merry McVey-Noble was an

advocate, but ADMITS the remaining allegations in said paragraph.

       51.    ADMITS the allegations in paragraph 51.

       52.    With respect to paragraph 52, ADMITS that Plaintiff’s attorney served as

Plaintiff’s advisor during the hearing, states that the role of an advisor is set forth in the

Policy, and states that no further answer is necessary as the Policy speaks for itself.

       53.    With respect to paragraph 53, DENIES the allegations, except ADMITS

that Plaintiff identified Peter “June” Thompson, as a witness, and that Associate Director

McDonald interviewed Mr. Thompson by phone on May 5, 2015, and that a written




                                               7                                       3597118.3
 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 8 of 17 PageID #: 42




summary of the interview is in the Case File, and states that no further answer is

necessary as the Case File speaks for itself.

          54.   With respect to paragraph 54, DENIES the allegations, and states that the

transcript of the hearing speaks for itself.

          55.   DENIES the allegations in paragraph 55.

          56.   With respect to paragraph 56, ADMITS that Plaintiff requested to have his

mother appear as a witness at the hearing, and DENIES KNOWLEDGE AND

INFORMATION sufficient to form a belief as to the truth of any other allegations in said

paragraph.

          57.   DENIES the allegations in paragraph 57.

          58.   With respect to paragraph 58, states that the witness lists and hearing

transcript speak for themselves.

          59.   With respect to paragraph 59, states that the Case File and hearing

transcript speak for themselves.

          60.   DENIES the allegations in paragraph 60.

          61.   With respect to paragraph 61, states that the hearing transcript speaks for

itself.

          62.   With respect to paragraph 62, states that the Case File and hearing

transcript speak for themselves.

          63.   With respect to paragraph 63, states that the hearing transcript speaks for

itself.




                                               8                                     3597118.3
 Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 9 of 17 PageID #: 43




          64.   With respect to paragraph 64, ADMITS that the Administrative Conduct

Board issued a decision finding Plaintiff responsible for committing Dating Violence, and

states that no further answer is necessary, as the decision speaks for itself.

          65.   With respect to paragraph 65, DENIES the allegations, except ADMITS

that the Administrative Conduct Board issued a decision finding Plaintiff responsible for

committing Dating Violence, and states that no further answer is necessary, as the

decision speaks for itself.

          66.   With respect to paragraph 66, ADMITS that the other student was a

Resident Assistant, and states that no further answer is necessary as the hearing

transcript speaks for itself.

          67.   With respect to paragraph 67, states that the hearing transcript speaks for

itself.

          68.   With respect to paragraph 68, ADMITS that Plaintiff was issued a Notice

of Sanctions, and states that no further answer is necessary, as the Notice of Sanctions

speaks for itself.

          69.   With respect to paragraph 69, states that the Notice of Sanctions speaks

for itself.

          70.   With respect to paragraph 70, states that the Notice of Sanctions speaks

for itself.

          71.   ADMITS the allegations in paragraph 71.

          72.   ADMITS the allegations in paragraph 72.

          73.   ADMITS the allegations in paragraph 73.




                                              9                                     3597118.3
Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 10 of 17 PageID #: 44




       74.    ADMITS the allegations in paragraph 74 and states that the decision

speaks for itself.

       75.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 75.

       76.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 76.

       77.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 77.

       78.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 78.

       79.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 79.

       80.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 80.

       81.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 81.

       82.    DENIES KNOWLEDGE OR INFORMATION sufficient to form a belief as

to the truth of the allegations in paragraph 82.

       83.    ADMITS the allegations in paragraph 83.

       84.    ADMITS the allegations in paragraph 84.

       85.    With respect to paragraph 85, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.



                                            10                                     3597118.3
Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 11 of 17 PageID #: 45




       86.    With respect to paragraph 86, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.

       87.    With respect to paragraph 87, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.

       88.    With respect to paragraph 88, DENIES all allegations, states that the

decision speaks for itself, and further states that the decision is on appeal to the

Appellate Division, Second Department.

       89.    With respect to paragraph 89, DENIES all allegations, states that the

decision speaks for itself, and further states that the decision is on appeal to the

Appellate Division, Second Department.

       90.    With respect to paragraph 90, DENIES all allegations, states that the

decision speaks for itself, and further states that the decision is on appeal to the

Appellate Division, Second Department.

       91.    With respect to paragraph 91, DENIES all allegations, states that the

decision speaks for itself, and further states that the decision is on appeal to the

Appellate Division, Second Department.

       92.    With respect to paragraph 92, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.

       93.    With respect to paragraph 93, states that the Policy speaks for itself.




                                             11                                        3597118.3
Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 12 of 17 PageID #: 46




      94.      With respect to paragraph 94, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.

      95.      With respect to paragraph 95, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.

      96.      ADMITS the allegations in paragraph 96.

      97.      Defendant responds to the inclusive allegations of paragraph 97 as set

forth above.

      98.      With respect to paragraph 98, states that the statute speaks for itself.

      99.      ADMITS the allegations in paragraph 99.

      100.     Paragraph 100 states a conclusion of law, which is neither admitted nor

denied, but is submitted to the Court.

      101.     DENIES the allegations in paragraph 101.

      102.     DENIES the allegations in paragraph 102.

      103.     DENIES the allegations in paragraph 103.

      104.     DENIES the allegations in paragraph 104.

      105.     DENIES the allegations in paragraph 105.

      106.     DENIES the allegations in paragraph 106.

      107.     DENIES the allegations in paragraph 107.

      108.     DENIES the allegations in paragraph 108.

      109.     DENIES the allegations in paragraph 109.

      110.     DENIES the allegations in paragraph 110.



                                             12                                      3597118.3
Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 13 of 17 PageID #: 47




       111.    DENIES the allegations in paragraph 111.

       112.    DENIES the allegations in paragraph 112.

       113.    Defendant responds to the inclusive allegations of paragraph 113 as set

forth above.

       114.    With respect to paragraph 114, states that the regulations speak for

themselves.

       115.    With respect to paragraph 115, DENIES all allegations, and states that the

decision speaks for itself, and further states that the decision is on appeal to the

Appellate Division, Second Department.

       116.    DENIES the allegations in paragraph 116.

       117.    DENIES the allegations in paragraph 117.

       118.    DENIES the allegations in paragraph 118.

       119.    DENIES the allegations in paragraph 119.

       120.    DENIES the allegations in paragraph 120.

       121.    DENIES the allegations in paragraph 121.

       122.    DENIES the allegations in paragraph 122.

       123.    DENIES the allegations in paragraph 123.

       124.    DENIES the allegations in paragraph 124.

       125.    DENIES the allegations in paragraph 125.

       126.    DENIES the allegations in paragraph 126.

       127.    DENIES the allegations in paragraph 127.

       128.    DENIES the allegations in paragraph 128.

       129.    DENIES the allegations in paragraph 129.



                                             13                                        3597118.3
Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 14 of 17 PageID #: 48




      130.     Defendant responds to the inclusive allegations of paragraph 130 as set

forth above.

      131.     DENIES the allegations in paragraph 131.

      132.     DENIES the allegations in paragraph 132.

      133.     DENIES the allegations in paragraph 133.

      134.     DENIES the allegations in paragraph 134.

      135.     DENIES the allegations in paragraph 135.

      136.     DENIES the allegations in paragraph 136.

      137.     DENIES the allegations in paragraph 137.

      138.     DENIES the allegations in paragraph 138.

      139.     DENIES the allegations in paragraph 139.

      140.     Defendant responds to the inclusive allegations of paragraph 140 as set

forth above.

      141.     DENIES the allegations in paragraph 141.

      142.     DENIES the allegations in paragraph 142.

      143.     DENIES the allegations in paragraph 143.

      144.     DENIES the allegations in paragraph 144.

      145.     Defendant responds to the inclusive allegations of paragraph 145 as set

forth above.

      146.     Paragraph 146 states a conclusion of law, which is neither admitted nor

denied, but is submitted to the Court.

      147.     DENIES the allegations in paragraph 147.

      148.     DENIES the allegations in paragraph 148.



                                           14                                    3597118.3
Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 15 of 17 PageID #: 49




      149.    DENIES the allegations in paragraph 149.

      150.    DENIES the allegations in paragraph 150.

      151.    With respect to paragraph 151, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.

      152.    With respect paragraph 152, states that the Policy speaks for itself.

      153.    With respect to paragraph 153, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.

      154.    With respect to paragraph 154, states that the decision speaks for itself,

and further states that the decision is on appeal to the Appellate Division, Second

Department.

      155.    DENIES any and all other allegations not specifically admitted or

otherwise responded to above.


                     DEFENSES AND AFFIRMATIVE DEFENSES

                                    FIRST DEFENSE

      156.    The Complaint fails to state a claim upon which relief can be granted.

                                  SECOND DEFENSE

      157.    Plaintiff’s gender discrimination claims fail, as no action was taken against

Plaintiff because of his gender, he was not treated disparately on the basis of gender,

and the outcome of his disciplinary proceeding was neither erroneous nor gender-

biased. Rather, all actions were taken for legitimate, non-discriminatory reasons.




                                            15                                        3597118.3
Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 16 of 17 PageID #: 50




                                    THIRD DEFENSE

       158.   There can be no liability pursuant to Title IX because the Answering

Defendant was not deliberately indifferent.

                                   FOURTH DEFENSE

       159.   Plaintiff’s gender discrimination claim(s) fail because Defendant acted

reasonably in responding to any concerns that Plaintiff raised to the Defendant and did

not permit harassment.

                                     FIFTH DEFENSE

       160.   Plaintiff’s Title IX cause of action fails because he was not deprived of

access to educational opportunities.


                                    SIXTH DEFENSE

       161.   Plaintiff’s breach of contract cause of action is barred because the action

taken was not arbitrary or capricious and the investigation and disciplinary action at

issue were handled in substantial compliance with the University’s policies and

procedures.

                                  SEVENTH DEFENSE

       162.   Plaintiff did not suffer damages as a result of any act or omission of

Defendant.

                                    EIGHTH DEFENSE

       163.   Some or all of Plaintiff’s claimed damages are barred due to his failure to

mitigate, if he did in fact incur damages.




                                              16                                       3597118.3
Case 2:20-cv-02638-JS-ST Document 6 Filed 09/29/20 Page 17 of 17 PageID #: 51




                                       NINTH DEFENSE

       164.    Plaintiff’s claimed damages are speculative and uncertain and therefore

are barred.

                                       TENTH DEFENSE

       165.    Plaintiff’s claimed damages are speculative and uncertain and therefore

are barred.

                                   ELEVENTH DEFENSE


       166.    Plaintiff’s claims for equitable relief are barred by the doctrine of unclean

hands.



       Defendant reserves the right to raise additional defenses as may be identified

during the course of the litigation.

       WHEREFORE, Defendant demands judgment dismissing the Complaint in its

entirety, awarding them costs and disbursements, and granting such other and further

relief as the Court may deem just and proper.

DATED:        September 29, 2020                   BOND, SCHOENECK & KING, PLLC

                                                   By:
                                                            Laura H. Harshbarger, Esq.
                                                            Suzanne M. Messer, Esq.

                                                         Attorneys for Defendant Hofstra
                                                         University
                                                         One Lincoln Center
                                                         Syracuse, New York 13202-1355
                                                         Telephone: (315) 218-8000
                                                         Facsimile: (315) 218-8100
                                                         Email: lharshbarger@bsk.com
                                                         Email: smesser@bsk.com


                                              17                                      3597118.3
